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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Dawn Miller                                          Case No.:
14740 Albany Ave
Posen, IL 60469
                                                     Judge:
         Plaintiff,
                                                        COMPLAINT FOR DAMAGES
v.                                                   UNDER THE FAIR DEBT COLLECTION
                                                        PRACTICES ACT AND OTHER
Delanor, Kemper & Associates, LLC                           EQUITABLE RELIEF
c/o George Thorpe, Registered Agent
1878 Canmont Drive
Atlanta, GA 30319                                     JURY DEMAND ENDORSED HEREIN

         Defendant.

                                   JURISDICTION AND VENUE

1. Jurisdiction is founded on 28 U.S.C. §1331 pursuant to the Fair Debt Collection Practices

     Act (FDCPA), 15 U.S.C. §1692. Venue is proper because a substantial part of the events

     giving rise to this claim occurred in this judicial district.

                                 FACTS COMMON TO ALL COUNTS

2. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3).

3. Plaintiff incurred a “debt” as defined by 15 U.S.C. §1692a(5).

4. At the time of the communications referenced herein, Defendant either owned the debt or

     was retained by the owner to collect the debt.

5. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. §1692a(6).

6. Plaintiff filed this claim within the timeframe permitted under the FDCPA.

7. On or around March 8, 2010, Defendant telephoned Plaintiff and left a voice message.

8. During this communication, Defendant falsely represented that Defendant needed to speak to

     Plaintiff about a “very serious legal issue.”




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9. During this communication, Defendant threatened that “escalation will occur” unless

   Plaintiff telephoned Defendant in 24 hours.

10. On or around March 8, 2010, Plaintiff telephoned Defendant in response to the above

   referenced message.

11. During this communication, Defendant falsely represented that Defendant was a law firm.

12. During this communication, Defendant threatened to file felony charges against Plaintiff

   unless Plaintiff paid the debt by March 15, 2010.

13. At the time of this communication, Defendant had neither the intent nor ability to file felony

   charges against Plaintiff.

14. Defendant damaged Plaintiff emotionally and mentally and caused Plaintiff substantial

   anxiety and stress.

15. Defendant violated the FDCPA.

                                           COUNT ONE

                         Violation of the Fair Debt Collection Practices Act

16. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

17. Defendant violated 15 U.S.C. §1692d by engaging in conduct the natural consequence of

   which as to harass, oppress, or abuse Plaintiff.

                                           COUNT TWO

                         Violation of the Fair Debt Collection Practices Act

18. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

19. Defendant violated 15 U.S.C. §1692e by using false deceptive or misleading representations

   in connection with the collection of the debt.




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                                          COUNT THREE

                       Violation of the Fair Debt Collection Practices Act

20. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

21. Defendant violated 15 U.S.C. §1692f by using unfair and/or unconscionable means to collect

    the debt.

                                          JURY DEMAND

22. Plaintiff demands a trial by jury.

                                      PRAYER FOR RELIEF

23. Plaintiff prays for the following relief:

            a. Judgment against Defendant for actual damages, statutory damages, and costs and

                reasonable attorney’s fees pursuant to 15 U.S.C. §1692k.

            b. For such other legal and/or equitable relief as the Court deems appropriate.




                                                RESPECTFULLY SUBMITTED,

                                                Legal Helpers, P.C.

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